Case 6:22-cv-00885-RRS-CBW Document 148 Filed 06/17/22 Page 1 of 4 PageID #: 4083



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

  ____________________________________
                                       )
  STATE OF LOUISIANA, et al.,          )
                                       )
                          Plaintiffs,  )
                                       )
              v.                       )                  Civil Action No. 6:22-CV-00885-RRS-CBW
                                       )
  CENTERS FOR DISEASE CONTROL          )
  & PREVENTION, et al.,                )
                                       )
                          Defendants.  )
  _____________________________________)


           DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO STAY
               DISTRICT COURT PROCEEDINGS PENDING APPEAL
          In response to Defendants’ motion to stay further proceedings in this case pending

  Defendants’ appeal of the preliminary injunction order issued by this Court,1 Plaintiffs have agreed to

  stay briefing on cross-motions for summary judgment pending the appeal’s resolution, but have

  objected to a “broader stay” that would delay any motion to dismiss or discovery. Pls.’ Opp’n at 1,

  ECF No. 145. But absent new agency action, Defendants do not intend to file a motion to dismiss.

  Moreover, discovery generally is not permitted in an Administrative Procedures Act (APA) case.

  Accordingly, Plaintiffs identify no reason that outweighs the benefits of a temporary stay, including

  promoting efficiency, conserving judicial and party resources, and permitting the parties and the Court

  to receive the Fifth Circuit’s guidance in further proceedings.

          For the reasons set forth below and in Defendants’ opening brief, the Court should grant

  Defendants’ motion to stay.


  1
    Defendants’ stay motion carved out an exception for any issue that might arise from compliance
  with the Court’s preliminary injunction. Mot. to Stay at 1, ECF No. 114-1. Defendants also sought,
  in the alternative, to extend their time to answer or otherwise respond to the Second Amended
  Complaint to 21 days after the resolution of their stay motion. The Court granted that relief on June
  6, 2022. Order at 1, ECF No. 117.
Case 6:22-cv-00885-RRS-CBW Document 148 Filed 06/17/22 Page 2 of 4 PageID #: 4084




          First, Plaintiffs argue that a broader stay would be inappropriate as Defendants might delay

  final resolution by filing a motion to dismiss to challenge “the adequacy of the States’ pleadings after

  this Court has already addressed many of the issues presented in its May 20 preliminary injunction

  order, and the administrative record has already been produced.” Pls.’ Opp’n at 1. Plaintiffs’ fear is

  unfounded. For the reasons Plaintiffs identify and unless there is new agency action impacting this

  litigation, Defendants do not intend to file a motion to dismiss.

           Second, Plaintiffs argue that a stay would delay their ability to seek discovery on (1) whether

  the Termination Order was pretextual; and (2) whether Plaintiffs have sufficient evidence to prove

  standing. Id. at 2. Neither area of discovery justifies denying a stay of proceedings here. To begin, in

  APA cases, “the focal point for judicial review should be the administrative record already in existence,

  not some new record made initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138, 142 (1973).

  The court’s role is not to inquire into agency decisionmakers’ motivations but rather to “evaluat[e] the

  agency’s contemporaneous explanation in light of the existing administrative record.” Id. “That

  principle reflects the recognition that further judicial inquiry into ‘executive motivation’ represents ‘a

  substantial intrusion’ into the workings of another branch of Government and should normally be

  avoided.” Dep’t of Com. v. New York, 139 S. Ct. 2551, 2573 (2019) (quoting Arlington Heights v.

  Metropolitan Housing Development Corp., 429 U.S. 252, 268, n. 18 (1977)). Accordingly, “[d]iscovery

  typically is not available in APA cases,” absent “a strong showing of bad faith or improper behavior.”

  Air Transp. Ass’n of Am., Inc. v. Nat’l Mediation Bd., 663 F.3d 476, 487 (D.C. Cir. 2011) (cleaned up)

  (quoting Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971)); see also McWaters v. Fed.

  Emergency Mgmt. Agency, No. CV 05-5488, 2006 WL 8430802, at *4 (E.D. La. Jan. 11, 2006) (noting

  that only “extreme and extraordinary circumstances will suffice to show the requisite bad faith” to

  permit discovery in an APA case) (cleaned up) (quoting Gary W. v. La. Dept. of Health & Human

  Resources, 861 F.2d 1366, 1369 (5th Cir. 1989)).

          Plaintiffs’ bare assertion that CDC’s reasons for terminating the Title 42 order are pretextual,

  and that the agency actually acted for political reasons, is insufficient to establish the requisite bad

  faith. As the Supreme Court held in Dep’t of Com. v. New York, in an APA case, “a court may not reject

                                                        2
Case 6:22-cv-00885-RRS-CBW Document 148 Filed 06/17/22 Page 3 of 4 PageID #: 4085




  an agency’s stated reasons for acting simply because the agency might also have had other unstated

  reasons.” 139 S. Ct. 2551, 2573 (2019). That is, “a court may not set aside an agency’s policymaking

  decision solely because it might have been influenced by political considerations or prompted by an

  Administration’s priorities.” Id. As the Supreme Court recognized, “[a]gency policymaking is not a

  rarified technocratic process, unaffected by political considerations or the presence of Presidential

  power”; rather, “[s]uch decisions are routinely informed by unstated considerations of politics, the

  legislative process, public relations, interest group relations, foreign relations, and national security

  concerns (among others).” Id. (citation omitted). Accordingly, Plaintiffs’ APA challenges rise and fall

  based on “the agency’s contemporaneous explanation” as supported by the existing administrative

  record, id., and discovery into the agency’s alleged political motivations would be improper and would

  waste the parties’ and the Court’s resources—exactly what a stay would avoid.

          Plaintiffs’ proposal that they be permitted to seek discovery from Defendants into Plaintiffs’

  Article III standing is similarly improper. Defendants’ challenge to Plaintiffs’ standing has been purely

  legal in nature—namely, that Plaintiffs’ asserted injuries are neither legally cognizable nor fairly

  traceable to the Termination Order as a legal matter. Defendants’ proposed discovery into the

  existence of their injuries therefore is improper and, again, would only waste the parties’ and the

  Court’s resources.

          In sum, Plaintiffs have set forth no good reason to offset the benefits of a temporary stay

  pending appeal. This Court should therefore follow the example of Chambless Enters. v. CDC, No. 30-

  cv-1455 (W.D. La. Apr. 19, 2021), an APA action in which another judge of this court stayed further

  proceedings pending appeal of a denial of a preliminary injunction motion “[b]ecause the issues are

  purely legal and discovery is limited to the administrative record,” and because the Fifth Circuit’s

  resolution of the appeal would be “informative and instructive to the district court on the merits of

  the case.” Mem. Order at 6, Chambless, No. 30-cv-1455 (W.D. La. Apr. 19, 2021), ECF No. 52. As in

  Chambless, “it is in the interest of judicial economy to stay the proceeding [in this case] pending the

  Fifth Circuit’s review.” Id.



                                                     3
Case 6:22-cv-00885-RRS-CBW Document 148 Filed 06/17/22 Page 4 of 4 PageID #: 4086




                                            CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Court grant their motion

  to stay district court proceedings pending appeal.

  Dated: June 17, 2022                                     Respectfully submitted,

                                                           BRIAN M. BOYNTON
                                                           Principal Deputy Assistant Attorney General
                                                           U.S. Department of Justice, Civil Division

                                                           JEAN LIN
                                                           Special Litigation Counsel (NY #4074530)

                                                           /s/ Jonathan D. Kossak
                                                           JONATHAN D. KOSSAK (DC #991478)
                                                           JOHN ROBINSON (DC #1044072)
                                                           Trial Attorneys
                                                           1100 L St. N.W.
                                                           Washington, DC 20530
                                                           U.S. Department of Justice, Civil Division
                                                           Federal Programs Branch
                                                           (202) 616-8489
                                                           Jean.lin@usdoj.gov
                                                           Jonathan.kossak@usdoj.gov
                                                           John.j.robinson@usdoj.gov

                                                           Attorneys for Defendants




                                                       4
